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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF SOUTH DAKOTA


    UNITED STATES OF AMERICA,
                                                          5:20-cr-50095-JLV
           Plaintiff,

    vs.                                                DEFENDANT’S REPLY
                                                         MEMORANDUM
    CODY WAYNE HOPKINS,

           Defendant.


          Comes now Cody Wayne Hopkins, Defendant above-named, by and through his

attorney, Assistant Federal Public Defender Alecia E. Fuller, and respectfully

submits the following Defendant’s Reply Memorandum, in support of his motion for

a new trial and related documents. (Dockets 77, 78, 83).

          The Court has the record before it, both on the credibility attack issue and the

burden of proof issue, as well as its recollection of the trial itself. It is within the

Court’s discretion, based on these factors, to determine whether a new trial is

warranted.1 The Government has plainly acknowledged the error of its arguments

regarding the “sleep deprivation” issue. Further, the “burden of proof” issue is fully

explained by Hopkins’s earlier briefing and the transcript. Ultimately, the

cumulative effect of the prosecutorial misconduct in this case deprived Hopkins of a

fair trial.




1It should be noted that the government’s citation to United States v. Hassan, 844
F.3d 723, (8th Cir. 2016) is inapplicable. This is a request for a new trial based on
prosecutorial misconduct, not “weight of the evidence.”
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      By and large, the Government’s response does not explain or minimize the

arguments presented in Hopkins’s earlier briefing. The Government concedes that its

characterization of Hopkins’s testimony was improper, explaining “[t]he United

States reviewed the unredacted statement only one time and did not remember the

defendant making the brief, benign, and seemingly irrelevant statement.” (Docket 84,

at p. 2). It is clear that the Government intended to “spoil” Hopkins’s credibility with

the jury, particularly regarding his intent, by calling him a liar. In other words, the

Government sought to improperly and incorrectly persuade the jury by “something

other than the evidence.”

      To obtain a reversal for prosecutorial misconduct, [Defendant] must first show
      that the comments were improper and then that they prejudiced. Crawford's
      rights in obtaining a fair trial. A prosecutor's comments are improper if they
      “are likely to inflame bias in the jury and to result in a verdict based on
      something other than the evidence.” United States v. Mullins, 446 F.3d 750,
      759 (8th Cir.2006).


United States v. Crawford, 523 F.3d 858, 861 (8th Cir. 2008) (additional citations

omitted).

      Because this improper credibility attack went entirely to a key issue in the case

– Hopkins’s intent, this prejudiced his right to a fair trial. His own testimony

regarding his intent, his defense itself, was entirely undercut by the improper

prosecutorial misconduct. The Government’s reckless statements delegitimized the

legal proceedings.

      Moreover, the defense was unable to object at the time of trial, because the

parties had agreed to redact the salient portions of Hopkins’s interview. It was




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necessary to review the transcript of Hopkins’s interview in order to make this

objection, which was not possible at the time the Government made these improper

statements. The posture of the issue was not appropriate, as the objection would

require finding an unredacted copy of the transcript, finding the appropriate passage

in the transcript, lodging the appropriate objection, etc. Again, this is a result of the

Government’s overeager and reckless attack on Hopkins’s credibility, based on its

own personal biases, not legitimate evidence or fair argument.

                                   CONCLUSION

       Based on the record in this case and the arguments presented, Hopkins asks

the Court to grant Defendant’s Motion for New Trial Pursuant to Fed. R. Crim. P. 33

(Docket 77).

      Dated this 3rd day of November 2022.

                                  Respectfully submitted,

                                  JASON J. TUPMAN
                                  Federal Public Defender
                                  By:

                                   /s/ Alecia E. Fuller
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